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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                           UNITED STATES DISTRICT COURT                            November 02, 2021
                                                                                    Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

The STATE OF MISSOURI; and the             §
STATE OF TEXAS,                            §
                                           §
       Plaintiffs,                         §
                                           §
v.                                         §
                                           §
JOSEPH R. BIDEN, JR., in his official      §
capacity as President of the United States §
of America; THE UNITED STATES OF           §
AMERICA; ALEJANDRO N.                      §
MAYORKAS, in his official capacity as §                      Civil Action No. 6:21-CV-00052
Secretary of the United States             §
Department of Homeland Security;           §
UNITED STATES DEPARTMENT OF                §
HOMELAND SECURITY; TROY A.                 §
MILLER, in his official capacity as the    §
Acting Commissioner of the United          §
States Customs and Border Protection;      §
and UNITED STATES CUSTOMS AND §
BORDER PROTECTION,                         §
                                           §
       Defendants.                         §

                                           ORDER

         Pending before the Court is the Complaint filed by the Plaintiffs in this Civil Action

on October 21, 2021.1       The Court notes that many of the Parties and claims are

substantially similar to those in a previously filed complaint in the McAllen Division of

this District. See General Land Office of Texas v. Biden, No. 7:21-CV-00272, (S.D. Tex. July

13, 2021), ECF No. 1 (Alvarez, J.). Accordingly, to facilitate judicial economy and by the




    1     (Dkt. No. 1).
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consent of United States District Judges Drew B. Tipton and Micaela Alvarez, the Court

hereby TRANSFERS this case to the docket of Judge Micaela Alvarez.

      It is SO ORDERED.

      Signed on November 2, 2021.


                                              ___________________________________
                                                        DREW B. TIPTON
                                              UNITED STATES DISTRICT JUDGE




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